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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11
In re:
Case No. 14-10979 (CSS}

ENERGY FUTURE HOLDINGS CORP.,, ef ai, (Jointly Administered)

Re: D.L 9199

Hearing Start Date: August 17, 2016 at 10:00
a.m, ET

Debtors,

Objection Deadline; August 8, 2616

RESERVATION OF RIGHTS OF
UMB BANK, N.A. TO CONFIRMATION OF THE THIRD AMENDED
JOINT PLAN OF REORGANIZATION OF ENERGY FUTURE HOLDINGS
CORP,, ETAL, PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

UMB Bank, N.A., as Indenture Trustee (the “Trustee’’) for the unsecured 11.25%/12.25%

Senior Toggle Notes Due 2018 and the 9.75% Senior Notes due 2019, by and through its

undersigned counsel, files this reservation of rights (the “Reservation of Rights”) in connection

with confirmation of the Debtors’ Third Amended Joint Plan of Reorganization of Energy Future
Holdings Corp., et al, Pursuant to Chapter 11 of the Bankruptcy Code [D.1. 9199] as it relates to
the T-Side Debtors (the “Plan”),' In support of this Reservation of Rights, the Trustee

respectfully submits as follows:

RESERVATION OF RIGHTS

1. As previously outlined by the Trustee in its limited objection to approval of the
Disclosure Statement for the T-Side Debtors [D.]. 8575], the Trustee’s main goal was, and
remains, ensuring that the E-Side Debtors, and in turn, the Trustee’s constituency, are not
prejudiced through the confirmation of the Plan as it relates to the T-Side Debtors. Specifically,

the Trustee’s concerns centered on certain tax issues that, even though being finalized in

‘Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Plan.
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connection with the “T-Side” Plan, inevitably will impact both the T-Side and the E-Side
Debtors and the resolution of which will play a significant role in the E-Side Debtors’ exit from
bankruptcy. Forming the foundation of these tax issues is the Tax Matters Agreement (and
allocation of tax liabilities among the Debtors) and whether the T-Side Debtors could, and
would, pursue a Taxable Separation.

2, On July 28, 2016, the Debtors filed, among other things, the form of Tax Matters

Agreement (the “Form of Tax Matters Agreement”) [D.I. 9100]. Certain of the Trustee’s

professionals have informed the Trustee that the Form of Tax Matters Agreement strikes an
acceptable balance of potential tax liabilities allocated between the E-Side and the T-Side
Debtors. Nevertheless, the Form of Tax Matters Agreement indicates that at least one issue
remains open among the parties. See Form of Tax Matters Agreement, p. 17, n. 2 (noting that
TCEH and the TCEH First Lien Creditors have proposed alternative language to a Tax Matters
Agreement provision). Ifthe Form of Tax Matters Agreement is altered to incorporate the
language proposed by TCEH and TCEH First Lien Creditors in footnote 2, or is otherwise
modified in a way that adversely impacts the E-Side Debtors and the allocation of tax liabilities
and risks, the Trustee reserves all rights to object to confirmation of the Plan for the T-Side
Debtors on the basis, among others, that entry into the Tax Matters Agreement by the E-Side
Debtors does not satisfy the business judgment standard.

3. Also on July 28, 2016, the Debtors received the Private Letter Ruling from the
IRS. The Private Letter Ruling described in the Form of Tax Matters Agreement has been
received in a manner that, on information and belief, would enable opinions to be delivered that
the Debtors will qualify for the Spin-Off Intended Tax Treatment (as defined in the Form of Tax

Matters Agreement), and would thereby permit the Spin-Off to proceed as
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contemplated. Although the Form of Tax Matters Agreement does contemplate that a Taxable
Separation could be pursued, upon information and belief, the requirements in the Form of Tax
Matters Agreement that would need to be satisfied in order to pursue a Taxable Separation
cannot be met in light of the rulings set out in the Private Letter Ruling. To the extent there are
amendments to the Form of Tax Matters Agreement or other developments that would clear the
path to pursue a Taxable Separation, the Trustee reserves all rights with respect thereto.

4. Lastly, the Trustee notes that the third amended Plan and related disclosure
statement were filed just before midnight on August 5, 2016. The Trustee is in the process of
reviewing the recently filed amended Plan and disclosure statement (as it relates to the E-Side
Debtors) and reserves all rights to supplement this Reservation of Rights, or file an objection to
confirmation of the Plan for the T-Side Debtors, once its review is complete. At a minimum,

the amended Plan and disclosure statement incorporate new provisions related to the E-Side

Debtors’ reorganization and exit from bankruptcy and fails to incorporate comments previously

provided to the Debtors by the Trustee. Accordingly, the Trustee reserves all rights to object to
any issue related to approval of the disclosure statement or confirmation of the Plan as it relates

to the E-Side Debtors.

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Dated: August 8, 2016
Wilmington, Delaware

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